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 1
     THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant Juan G. Alvarez
 4
 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                              )   Case No.: 2:08-CR-00392-GEB and
     UNITED STATES OF AMERICA,                  )             2:08-CR-00570-GEB
 9                                              )
                  Plaintiff,                    )   STIPULATION AND ORDER FOR
10                                              )   CONTINUANCE OF JUDGMENT AND
          vs.                                   )   SENTENCING
11   JUAN GABRIEL ALVAREZ                       )
                                                )
12                Defendant.                    )
                                                )
13
14
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     Status Conference regarding the Judgment and Sentencing scheduled for September 14,
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     2012, at 9:00 a.m. is continued to October 19, 2012, at 9:00 a.m. in the same courtroom.
17
     Michael M. Beckwith, Assistant United States Attorney, and Thomas A. Johnson,
18
     Defendant’s attorney, both agree to this continuance. Mr. Johnson recently substituted
19
     into the case and needs additional time to prepare. Additionally, Mr. Beckwith is
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     currently in trial before the Honorable William B. Shubb.
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22
     IT IS SO STIPULATED.
23
24   DATED: September 10, 2012                       By:    /s/ Thomas A. Johnson
                                                            THOMAS A. JOHNSON
25                                                          Attorney for Defendant
                                                            Juan G. Alvarez
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27
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                           Case 2:08-cr-00570-GEB Document 108 Filed 09/13/12 Page 2 of 2


     DATED: September 10, 2012                                          BENJAMIN WAGNER
 1                                                                      United States Attorney
 2                                                               By:    /s/ Thomas A. Johnson for
                                                                        Michael M. Beckwith
 3                                                                      Assistant United States Attorney
 4   IT IS SO ORDERED.
 5
     Date: 9/12/2012
 6
                                                   ___________________________________
 7                                                 GARLAND E. BURRELL, JR.
                                                   Senior United States District Judge
 8   DEAC_Signature-END:




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